Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 1 of 35 - Page ID#:
                                    1604
                                       EXHIBIT 1
                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON
                              CASE NO. 5:22-cv-231-DCR

  EUGENE BAKER, et al.                            )
                                                  )
                Plaintiffs,                       )
                                                  )
 v.                                               )
                                                  )
  BLACKHAWK MINING, LLC, and                      )
  PINE BRANCH MINING, LLC                         )
                                                  )
                Defendants.                       )


                                   **********
                    DEFENDANTS PINE BRANCH MINING, LLC’S
                FIRST SET OF DISCOVERY REQUESTS TO PLAINTIFFS

        Defendant, Pine Branch Mining, LLC (“Pine Branch”) propounds the following requests

 for admission, interrogatories, and requests for production of documents upon Plaintiffs pursuant

 to Rules 26, 33, 34 and 36 of the Federal Rules of Civil Procedure. The requests for admission and

 interrogatories are to be answered fully in writing and under oath, the documents requested are to

 be produced, and written responses to the requests for production are to be served upon Pine

 Branch’s undersigned attorney within thirty (30) days of service hereof.

                                          DEFINITIONS

        1.      The term “Defendants” shall refer to Blackhawk Mining, LLC and Pine Branch

 Mining, LLC, as well as their employees, agents, attorneys, officers, and representatives.

        2.      The terms “you” and “your” shall refer to the specific Plaintiff providing responses

 to these Discovery Requests and his or her employees, agents, attorneys, and representatives.

        3.      The term “Complaint” refers to the Complaint filed in this lawsuit on August 22,

 2022 before the Commonwealth of Kentucky, Breathitt Circuit Court, and assigned Case No. 22-
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 2 of 35 - Page ID#:
                                    1605



 CI-00141, and subsequently removed to the United States District Court for the Eastern District of

 Kentucky.

           4.   The terms “concerning” or “concern” mean constituting, relating to, mentioning,

 discussing, evidencing, involving, depicting, describing, listing, consisting of, forming the basis

 of, commenting on, supporting, analyzing, forwarding, demonstrating, referring to or connected

 with, about, regarding, discussing, relying upon, or in any way related to the indicated item or

 person.

           5.   As used herein, the terms “document” and “documents” shall be interpreted in their

 broadest possible sense and mean any writing of any kind, including originals and all non-identical

 copies (whether different from the originals by reason of any notation made on such copies or

 otherwise), including any medium in which information is stored, such as, but not limited to,

 advertisements, brochures, flyers, circulars, correspondence, memoranda, notes, desk calendars,

 diaries, statistics, letters, telegrams, minutes, contracts, reports, studies, checks, invoices,

 statements, receipts, returns, warranties, manuals, guarantees, summaries, pamphlets, books,

 prospectuses, inter-office communications, electronic mail, web pages, instant messages, text

 messages, social media posts and/or messages, offers, notations of any sort of conversations,

 telephone calls, meetings or other communications, bulletins, magazines, publications, printed

 matter, photographs, videos, animations, computer printouts, teletypes, telefax, and worksheets.

 Further, the terms “Document” and “Documents” shall include all drafts, tapes, tape recordings,

 transcripts, graphic records or representations of any kind, and all documents stored on computer

 tapes, disks or diskettes and all documents stored in or on a computer, back-up tape or other

 electronic usage medium or other electronic device or electronic mailboxes. The terms

 “Document” and “Documents” shall also include materials stored electronically or




                                                 2
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 3 of 35 - Page ID#:
                                    1606



 electromagnetically, and all drafts or non-final versions, alterations, modifications, and

 amendments to any of the foregoing.

         6.      “Explain,” “state,” and “describe” mean to specify in detail and include the

 recitation of all relevant dates and places as well as the requirement to identify, as defined below,

 all pertinent matter that is the subject of the individual request.

         7.      “Identify” when used in reference to a person shall mean to state the person’s name,

 last known home and business address, last known telephone number(s), relationship to You, and,

 if the person is deceased, his or her date of death.

         8.      “Identify” when used in reference to a document shall mean to state the date of the

 document, as well as the title, type (e.g. letter, memorandum, telegram), current location, current

 custodian and general subject matter of the document. Additionally, “identify” means to state the

 name and address of each person who made, prepared or signed the document, the name and

 address of each person to whom the document was sent and the name and address of each person

 to whom a copy was indicated to have been sent.

         9.      “Identify” when used in reference to a location shall mean to describe the

 coordinates or other specific information that would allow a third person to find the location.

         10.     The term “person” refers to a natural person, corporation, partnership, other

 business entity or association, or any government or governmental body, commission, board, or

 agency.

         11.     The term “rain event” or “flood event” refers to the historical and unprecedented

 rain event that occurred within the River Caney watershed at the end of July 2022 and which is the

 subject of the Plaintiffs’ Complaint.




                                                    3
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 4 of 35 - Page ID#:
                                    1607



        12.     The term “governmental entity” refers to any federal, state, and local governmental

 entity, including, but not limited to, the Federal Emergency Management Agency (FEMA) and the

 Commonwealth of Kentucky.

                                          DIRECTIONS

        1.      Each Plaintiff is to respond to each Discovery Request contained herein, providing

 responses specific to his or her claims where applicable. However, it is not necessary for each

 Plaintiff to produce a document pursuant to a Request for Production if that document is subject

 to production by two or more Plaintiffs. Instead, one Plaintiff should produce the document and

 all other Plaintiffs who would otherwise produce the document should note in their responses to

 the relevant Request for Production that the document is being produced by the producing Plaintiff.

        2.      In construing these requests: (i) the singular shall include the plural and the plural

 shall include the singular; (ii) the masculine, feminine, or neuter pronoun shall not exclude the

 other genders; (iii) the conjunctions “and” and “or” shall be read either disjunctively or

 conjunctively so as to bring within the scope of each request all information that might otherwise

 be construed to be outside its scope; and (iv) the word “any” shall be read to mean each and every.

        3.      These requests are continuing in nature so as to require you to provide amended or

 supplemental answers when you obtain additional information pertinent to any request.

        4.      When you are asked to describe a person’s knowledge or information, your answer

 should specify all facts, opinions, and data underlying or contributing to that knowledge or

 information, and state when and how that person obtained such facts, opinions, and data.

        5.      Whenever you cannot answer any of the following requests or do not possess all

 information requested, you shall so state and answer to the fullest extent possible, specifying the

 reason(s) for your inability to answer and setting forth whatever knowledge or information is

 available to you when answering.


                                                  4
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 5 of 35 - Page ID#:
                                    1608



        6.      If you refuse to respond to any request in whole or in part on the grounds of

 privilege, you shall for each such request identify: (a) the person or persons who have knowledge

 of the withheld information; (b) the claim of privilege under which the information is withheld;

 and (c) a description of the information which you consider adequate to support the contention that

 the information is privileged.

        7.      All information is to be divulged which is in your possession or control or within

 the possession and control of your attorneys, investigators, agents, employees, or other

 representatives of you or your attorneys.



                                     INTERROGATORIES

        INTERROGATORY 1.               State your full name, current residential address, current

 employment address, date of birth, and social security number.

        ANSWER:



        INTERROGATORY 2.               Identify all persons who provided information or contributed

 to preparing your responses to these Discovery Requests. With respect to each person, identify the

 answers and requests that the individual assisted in responding to or for which the individual was

 consulted, relied upon, or otherwise constituted a source of information.

        ANSWER:



        INTERROGATORY 3.               Identify each person you believe to be a witness to or to

 otherwise have knowledge of the allegations set forth in your Complaint, providing the




                                                 5
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 6 of 35 - Page ID#:
                                    1609



 individual’s name, address, employer, last know contact information, and a description of the

 knowledge or information he or she is believed to have.

        ANSWER:



        INTERROGATORY 4.                Identify each person you may call as a witness at any trial or

 hearing in this action, providing the individual’s name, address, employer, last known contact

 information, and a description of the facts, events, or information he or she may testify concerning.

        ANSWER:



        INTERROGATORY 5.                Identify each person you expect to call as an expert witness

 at any trial or hearing of this matter, stating the subject matter on which the individual is expected

 to testify, the substance of opinions to which the individual is anticipated to testify, all facts and

 data reviewed or relied upon in forming those opinions, and all documents or tangible things

 reviewed, prepared, or relied upon by the individual in connection with the formation of his or her

 opinions.

        ANSWER:



        INTERROGATORY 6.                Describe with specificity the complete basis for your claim

 in paragraph 5 of the Complaint that “Defendants operated a number of silt ponds which failed




                                                   6
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 7 of 35 - Page ID#:
                                    1610



 due to the fact that they were improperly maintained and improperly constructed,” identifying

 specifically all documents and information that you contend support your claim.

          ANSWER:



          INTERROGATORY 7.             Describe with specificity the complete basis for your claim

 in paragraph 6 of the Complaint that “debris, sediment, and other matter, including fish, escaped

 from the silt ponds and came onto the property of many of the Plaintiffs” and as a result “Plaintiffs

 allege that Defendants violated Kentucky Administrative Regulation (KAR) 20:060, which

 prohibits the escaping of materials and other debris, including water, from a permitted area to a

 non-permitted area (the Plaintiff’s property).” Your answer should identify specifically all

 documents and information that you contend support your claim.

          ANSWER:



          INTERROGATORY 8.             Describe with specificity the complete basis for your claims

 in paragraphs 7 and 8 of the Complaint that the Defendants failed to properly reclaim strip mining

 operations above the Plaintiffs’ homes, that the Defendants did so in violation of KRS § 350.100,

 and that the flood damage alleged in Plaintiffs’ Complaint was exacerbated as a result. Your

 answer should identify specifically all documents and information that you contend support your

 claim.

          ANSWER:




                                                  7
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 8 of 35 - Page ID#:
                                    1611



        INTERROGATORY 9.               Describe with specificity the complete basis for your claim

 in paragraph 9 of the Complaint that “many of the Plaintiffs’ well water supply was destroyed,

 interrupted, or polluted” by actions of the Defendants, identifying specifically all documents and

 information that you contend support your claim.

        ANSWER:



        INTERROGATORY 10.              Describe with specificity the actions and/or omissions made

 by the Defendants which you contend support your claim for punitive damages, identifying all

 documents and information you contend support your claim.

        ANSWER:



        INTERROGATORY 11.              Identify all legal actions in which you have been previously

 involved, providing the subject matter of each action, the venue in which the action was filed,

 identifying all parties to the action, and providing a description of the outcome of the action.

        ANSWER:



        INTERROGATORY 12.              Identify any complaint filed by you or any individual on your

 behalf with the Kentucky Energy and Environment Cabinet or any other government agency

 against either Defendant in this action or any predecessor to either Defendant, at any time, for any

 reason, stating the name of the entity to which the complaint was made, the date of the complaint,




                                                   8
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 9 of 35 - Page ID#:
                                    1612



 the allegations of the complaint, any reference number assigned to the complaint, and the results

 of the complaint.

         ANSWER:



         INTERROGATORY 13.              State whether any of the properties you contend were

 impacted by the flood event alleged in the Complaint have ever experienced flooding previously

 and, if so, identify:

               1) The dates of any such prior flooding;

               2) The height of any flood waters during those flooding events;

               3) Whether the flood waters infiltrated any structure/improvement located on the
                  property and the height of the flood waters in any such structure/improvement;

               4) Any lawsuits filed as a result of the prior flood event, including all parties to the
                  lawsuit; and

               5) Any payments received in compensation for damage incurred during the prior
                  flood event.
         ANSWER:



         INTERROGATORY 14.              State whether you had flood insurance at the time of the

 events described in the Complaint and, if so, provide the name and address of the carrier; the policy

 limits; the name of your insurance agent;, and state whether you’ve made a claim with respect to

 any damage alleged as a result of the flood event at issue in this lawsuit and identify any amounts

 paid as a result.

         ANSWER:




                                                   9
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 10 of 35 - Page ID#:
                                     1613



         INTERROGATORY 15.              State whether you have applied to any state, federal, or local

 agency or other organization for aid or assistance as a result of the flood event alleged in the

 Complaint and, if so, identify the agency or organization to which you’ve applied; the dates on

 which you applied; any reference number assigned to your application; the reason for your

 application; and whether you’ve received any amount as a result of the application.

         ANSWER:



         INTERROGATORY 16.              To the extent you claim damages as a result of business loss,

 lost income, or lost profits, identify each and every source of income you have received during the

 past five (5) years.

         ANSWER:



         INTERROGATORY 17.              Identify all relatives over the age of 18 residing in Bath,

 Bourbon, Boyle, Breathitt, Clark, Estill, Fayette, Fleming, Garrard, Harrison, Jessamine, Lee,

 Lincoln, Madison, Menifee, Mercer, Montgomery, Nicholas, Powell, Scott, Wolfe, and Woodford

 counties.

         ANSWER:



         INTERROGATORY 18.              Identify all relatives which are also parties to this lawsuit,

 stating specifically the relationship held with each.

         ANSWER:




                                                  10
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 11 of 35 - Page ID#:
                                     1614



         INTERROGATORY 19.             Identify all investigations and/or studies of which you are

 aware that have been conducted by any individual or entity related to the flood event alleged in

 the Complaint, identifying the agency, organization, and individuals involved.

         ANSWER:



         INTERROGATORY 20.             Identify all social media accounts, by platform and

 username, held by you.

         ANSWER:



                      REQUESTS FOR PRODUCTION OF DOCUMENTS

         REQUEST FOR PRODUCTION NO. 1.                Produce all documents identified, relied upon,

 referenced, or used in answering these Discovery Requests.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 2.                Produce all documents, communications,

 photographs and/or videos in your possession and control concerning the flood event at issue in the

 Complaint.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 3.                Produce all documents and tangible things that

 you intend to introduce, make reference to, or otherwise make use of during any trial, hearing, or

 deposition in this matter.

         RESPONSE:




                                                 11
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 12 of 35 - Page ID#:
                                     1615



         REQUEST FOR PRODUCTION NO. 4.                 Produce all documents and communications

 related to your claim in paragraph 5 of the Complaint that “Defendants operated a number of silt

 ponds which failed due to the fact that they were improperly maintained and improperly

 constructed.”

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 5.                 Produce all documents and communications

 related to your claim in paragraph 6 of the Complaint that “debris, sediment, and other matter,

 including fish, escaped from the silt ponds and came onto the property of many of the Plaintiffs”

 and as a result “Plaintiffs allege that Defendants violated Kentucky Administrative Regulation

 (KAR) 20:060, which prohibits the escaping of materials and other debris, including water, from

 a permitted area to a non-permitted area (the Plaintiff’s property).”

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 6. Produce all documents and communications

 related to your claims in paragraphs 7 and 8 of the Complaint that the Defendants failed to properly

 reclaim strip mining operations above the Plaintiffs’ homes, that the Defendants did so in violation

 of KRS § 350.100, and that the flood damage alleged in Plaintiffs’ Complaint was exacerbated as

 a result.

         RESPONSE:




                                                  12
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 13 of 35 - Page ID#:
                                     1616



         REQUEST FOR PRODUCTION NO. 7. Produce all documents and communications

 related to your claim in paragraph 9 of the Complaint that “many of the Plaintiffs’ well water

 supply was destroyed, interrupted, or polluted” by actions and/or omissions of the Defendants.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 8. Produce                    all   results   from   any   testing

 performed of any well that you contend was destroyed, interrupted, or polluted as a result of actions

 and/or omissions of the Defendants whether prior to or following the flood event alleged in the

 Complaint.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 9. Produce all documents and communications

 concerning any inspection of any well you contend was destroyed, interrupted, or polluted as a

 result of any action and/or omission of the Defendants.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 10. To the extent you are claiming destruction,

 interruption, or pollution of well water as part of this lawsuit, produce all documents and

 communications related to the installment of the subject well on the property at issue, including all

 documents related to the cost of installation.

         RESPONSE:




                                                  13
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 14 of 35 - Page ID#:
                                     1617



        REQUEST FOR PRODUCTION NO. 11. Produce all documents and communications

 concerning your claim for punitive damages.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 12. Produce all documents and communications

 related to any complaint filed by you or any individual on your behalf with the Kentucky Energy

 and Environment Cabinet or any other government agency against either Defendant in this action

 or any predecessor to either Defendant, at any time, for any reason.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 13. Produce all documents and communications

 concerning any flood event experienced by any property at issue in this lawsuit prior to the events

 described in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 14. Produce a complete copy of all insurance

 policies and declaration pages applicable to any piece of property you contend was damaged by

 any act or omission of the Defendants in place at the time of the events alleged in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 15. Produce all documents and communications

 related to any insurance claim made with respect to any damage resulting from the flood event

 described in the Complaint.




                                                 14
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 15 of 35 - Page ID#:
                                     1618



        RESPONSE:



        REQUEST FOR PRODUCTION NO. 16. Produce all documents and communications

 concerning any insurance claim made with respect to any piece of property which you contend

 was damaged by an act or omission of the Defendants, at any time, whether prior to or following

 the flood event at issue in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 17. Produce all documents and communications

 concerning any application to and/or award by any state, federal, or local agency or other

 organization for aid or assistance as a result of the flood event alleged in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 18. Produce all documents and communications

 concerning any prior application to and/or award by any state, federal, or local agency or other

 organization for aid in connection with any previous flood event.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 19. Produce all documents and communications

 concerning any investigation and/or study of which you are aware related to the cause of the flood

 event alleged in the Complaint.

        RESPONSE:




                                                  15
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 16 of 35 - Page ID#:
                                     1619



        REQUEST FOR PRODUCTION NO. 20. Produce all communications which you’ve

 made or received concerning the allegations in the Complaint, the flood event alleged in the

 Complaint, and/or the Defendants to this action with any other individual or entity.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 21. Produce all witness statements obtained by

 you or anyone on your behalf from any individual concerning the flood event alleged in the

 Complaint and/or the Defendants to this action.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 22. Produce all social media posts which you

 have authored concerning the allegations in the Complaint, the flood event alleged in the

 Complaint, and/or the Defendants to this action.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 23. Produce all documents and tangible things

 which any individual you intend to designate as an expert witness in this matter has reviewed or

 relied upon in forming any opinions in this action.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 24. Produce all reports generated by any expert

 witness that you intend to call as a witness at any trial or hearing of this matter.

        RESPONSE:




                                                   16
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 17 of 35 - Page ID#:
                                     1620




        REQUEST FOR PRODUCTION NO. 25. Produce all documents and tangible things

 concerning the boundaries of the River Caney watershed.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 26. Produce all documents and tangible things

 concerning the amount of rainfall experienced in the River Caney watershed during the time period

 at issue in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 27. Produce all documents and tangible things

 concerning the height of flood waters on any property at issue in this litigation during the flood

 event alleged in the Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 28. Produce a copy of any lease agreement

 entered into between you and either Defendant or any predecessor of either Defendant.

        RESPONSE:



                                   REQUESTS FOR ADMISSION

        REQUEST FOR ADMISSION NO. 1.                 Admit that the rain event alleged in the

 Complaint was a 1000-year frequency storm according NOAA Atlas 14 Point Precipitation

 Frequency Estimates.

        RESPONSE:


                                                17
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 18 of 35 - Page ID#:
                                     1621




                                             Respectfully submitted,

                                             /s/ Grahmn N. Morgan
                                             Grahmn N. Morgan (KBA #89219)
                                             Kristeena L. Johnson (KBA #94994)
                                             DINSMORE & SHOHL LLP
                                             100 W. Main St., Suite 900
                                             Lexington, KY 40507
                                             T: (859) 425-1000
                                             F: (859) 425-1099
                                             grahmn.morgan@dinsmore.com
                                             kristeena.johnson@dinsmore.com

                                             and

                                             R. Clay Larkin
                                             Dentons Bingham Greenebaum LLP
                                             300 West Vine Street, Suite 1200
                                             Lexington, KY 40507
                                             T: (859) 231-8500
                                             clay.larkin@dentons.com
                                             Counsel for Defendants




                                        18
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 19 of 35 - Page ID#:
                                     1622



                                CERTIFICATE OF SERVICE
        I certify that the foregoing was served by electronic mail and U.S. mail on December 22,
 2022 to the following:

 Ned Pillersdorf
 PILLERSDORF LAW OFFICES
 124 W. Court St.
 Prestonsburg, KY 41653
 T: (606) 886-6090
 pillersn@gmail.com
 Counsel for Plaintiffs

                                                    /s/ Grahmn N. Morgan
                                                    Counsel for Defendants




 27563142.1




                                               19
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 20 of 35 - Page ID#:
                                     1623



                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF KENTUCKY
                         CENTRAL DIVISION AT LEXINGTON
                              CASE NO. 5:22-cv-231-DCR

  EUGENE BAKER, et al.                            )
                                                  )
                Plaintiffs,                       )
                                                  )
 v.                                               )
                                                  )
   BLACKHAWK MINING, LLC, and                     )
   PINE BRANCH MINING, LLC                        )
                                                  )
                Defendants.                       )


                                            **********

      DEFENDANTS BLACKHAWK MINING, LLC’S FIRST SET OF DISCOVERY
                      REQUESTS TO PLAINTIFFS

        Defendant, Blackhawk Mining, LLC (“Blackhawk”) propounds the following requests for

 admission, interrogatories, and requests for production of documents upon Plaintiffs pursuant to

 Rules 26, 33, 34 and 36 of the Federal Rules of Civil Procedure. The requests for admission and

 interrogatories are to be answered fully in writing and under oath, the documents requested are to

 be produced, and written responses to the requests for production are to be served upon

 Blackhawk’s undersigned attorney within thirty (30) days of service hereof.

                                          DEFINITIONS

        1.      The term “Defendants” shall refer to Blackhawk Mining, LLC and Pine Branch

 Mining, LLC, as well as their employees, agents, attorneys, officers, and representatives.

        2.      The terms “you” and “your” shall refer to the specific Plaintiff providing responses

 to these Discovery Requests and his or her employees, agents, attorneys, and representatives.

        3.      The term “Complaint” refers to the Complaint filed in this lawsuit on August 22,

 2022 before the Commonwealth of Kentucky, Breathitt Circuit Court, and assigned Case No. 22-
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 21 of 35 - Page ID#:
                                     1624



 CI-00141, and subsequently removed to the United States District Court for the Eastern District of

 Kentucky.

           4.   The terms “concerning” or “concern” mean constituting, relating to, mentioning,

 discussing, evidencing, involving, depicting, describing, listing, consisting of, forming the basis

 of, commenting on, supporting, analyzing, forwarding, demonstrating, referring to or connected

 with, about, regarding, discussing, relying upon, or in any way related to the indicated item or

 person.

           5.   As used herein, the terms “document” and “documents” shall be interpreted in their

 broadest possible sense and mean any writing of any kind, including originals and all non-identical

 copies (whether different from the originals by reason of any notation made on such copies or

 otherwise), including any medium in which information is stored, such as, but not limited to,

 advertisements, brochures, flyers, circulars, correspondence, memoranda, notes, desk calendars,

 diaries, statistics, letters, telegrams, minutes, contracts, reports, studies, checks, invoices,

 statements, receipts, returns, warranties, manuals, guarantees, summaries, pamphlets, books,

 prospectuses, inter-office communications, electronic mail, web pages, instant messages, text

 messages, social media posts and/or messages, offers, notations of any sort of conversations,

 telephone calls, meetings or other communications, bulletins, magazines, publications, printed

 matter, photographs, videos, animations, computer printouts, teletypes, telefax, and worksheets.

 Further, the terms “Document” and “Documents” shall include all drafts, tapes, tape recordings,

 transcripts, graphic records or representations of any kind, and all documents stored on computer

 tapes, disks or diskettes and all documents stored in or on a computer, back-up tape or other

 electronic usage medium or other electronic device or electronic mailboxes. The terms

 “Document” and “Documents” shall also include materials stored electronically or




                                                 2
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 22 of 35 - Page ID#:
                                     1625



 electromagnetically, and all drafts or non-final versions, alterations, modifications, and

 amendments to any of the foregoing.

         6.      “Explain,” “state,” and “describe” mean to specify in detail and include the

 recitation of all relevant dates and places as well as the requirement to identify, as defined below,

 all pertinent matter that is the subject of the individual request.

         7.      “Identify” when used in reference to a person shall mean to state the person’s name,

 last known home and business address, last known telephone number(s), relationship to You, and,

 if the person is deceased, his or her date of death.

         8.      “Identify” when used in reference to a document shall mean to state the date of the

 document, as well as the title, type (e.g. letter, memorandum, telegram), current location, current

 custodian and general subject matter of the document. Additionally, “identify” means to state the

 name and address of each person who made, prepared or signed the document, the name and

 address of each person to whom the document was sent and the name and address of each person

 to whom a copy was indicated to have been sent.

         9.      “Identify” when used in reference to a location shall mean to describe the

 coordinates or other specific information that would allow a third person to find the location.

         10.     The term “person” refers to a natural person, corporation, partnership, other

 business entity or association, or any government or governmental body, commission, board, or

 agency.

         11.     The term “rain event” or “flood event” refers to the historical and unprecedented

 rain event that occurred within the River Caney watershed at the end of July 2022 and which is the

 subject of the Plaintiffs’ Complaint.




                                                    3
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 23 of 35 - Page ID#:
                                     1626



        12.     The term “governmental entity” refers to any federal, state, and local governmental

 entity, including, but not limited to, the Federal Emergency Management Agency (FEMA) and the

 Commonwealth of Kentucky.

                                          DIRECTIONS

        1.      Each Plaintiff is to respond to each Discovery Request contained herein, providing

 responses specific to his or her claims where applicable. However, it is not necessary for each

 Plaintiff to produce a document pursuant to a Request for Production if that document is subject

 to production by two or more Plaintiffs. Instead, one Plaintiff should produce the document and

 all other Plaintiffs who would otherwise produce the document should note in their responses to

 the relevant Request for Production that the document is being produced by the producing Plaintiff.

        2.      In construing these requests: (i) the singular shall include the plural and the plural

 shall include the singular; (ii) the masculine, feminine, or neuter pronoun shall not exclude the

 other genders; (iii) the conjunctions “and” and “or” shall be read either disjunctively or

 conjunctively so as to bring within the scope of each request all information that might otherwise

 be construed to be outside its scope; and (iv) the word “any” shall be read to mean each and every.

        3.      These requests are continuing in nature so as to require you to provide amended or

 supplemental answers when you obtain additional information pertinent to any request.

        4.      When you are asked to describe a person’s knowledge or information, your answer

 should specify all facts, opinions, and data underlying or contributing to that knowledge or

 information, and state when and how that person obtained such facts, opinions, and data.

        5.      Whenever you cannot answer any of the following requests or do not possess all

 information requested, you shall so state and answer to the fullest extent possible, specifying the

 reason(s) for your inability to answer and setting forth whatever knowledge or information is

 available to you when answering.


                                                  4
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 24 of 35 - Page ID#:
                                     1627



        6.      If you refuse to respond to any request in whole or in part on the grounds of

 privilege, you shall for each such request identify: (a) the person or persons who have knowledge

 of the withheld information; (b) the claim of privilege under which the information is withheld;

 and (c) a description of the information which you consider adequate to support the contention that

 the information is privileged.

        7.      All information is to be divulged which is in your possession or control or within

 the possession and control of your attorneys, investigators, agents, employees, or other

 representatives of you or your attorneys.



                                     INTERROGATORIES

        INTERROGATORY 1.               Identify all persons who provided information or contributed

 to preparing your responses to these Discovery Requests. With respect to each person, identify the

 answers and requests that the individual assisted in responding to or for which the individual was

 consulted, relied upon, or otherwise constituted a source of information.

        ANSWER:



        INTERROGATORY 2.               State the amount you seek for each category of damages you

 claim in this lawsuit. Examples of such categories include, but are not limited to: damages

 concerning real property; damages concerning personal property (including vehicles); damages

 concerning emotional distress, humiliation, and pain and suffering; damages concerning well water

 supply; relocation damages; and punitive damages.

        ANSWER:




                                                 5
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 25 of 35 - Page ID#:
                                     1628



        INTERROGATORY 3.               State the full street address for each and every piece of real

 property that you contend has been impacted by any actions or omissions of the Defendants and

 the primary use of the property, whether for residential, business, and/or farming.

        ANSWER:



        INTERROGATORY 4.               For each piece of property identified in response to

 Interrogatory No. 3, identify the current owner of the property and, if different, the owner as of

 July 31, 2022; the date on which the property was acquired and how the property was acquired

 (whether through gift, purchase, etc.); and the amount paid for the property if purchased.

        ANSWER:



        INTERROGATORY 5.               For each piece of property identified in response to

 Interrogatory No. 3, identify the types of structures and/or improvements located on the property

 at the time of the flood event described in the Complaint, the cost of such structures and/or

 improvement(s), the age of any such structure(s) and/or improvement(s), and the person/entity

 who built/installed/purchased the structure(s) and/or improvement(s).

        ANSWER:


        INTERROGATORY 6.               For each property identified in response to Interrogatory No.

 3, to the extent you are claiming damages as a result of physical damage to the property:

                1) Describe in detail the damage alleged to the property and/or any
                   structure/improvement located on the property;

                2) State specifically the height of any flood waters that you claim to have infiltrated
                   any structure/improvement located on the property;




                                                  6
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 26 of 35 - Page ID#:
                                     1629



                3) Describe in detail any repairs or cleanup performed with respect to the property
                   and/or any structure/improvement on the property or whether you contend that
                   the property/structure/improvement was damaged beyond repair; and

                4) Describe whether you were displaced from the property/structure/improvement
                   for any period of time and, if so, state the date on which you left the
                   property/structure/improvement; the date on which you returned to the
                   property/structure/improvement; identify the location, including the address and
                   the name of the owner, of any property you utilized during the displacement;
                   and the precise amount of any expense you claim to have incurred as a result of
                   the displacement.


        ANSWER:



        INTERROGATORY 7.                For each property identified in response to Interrogatory No.

 3, state the names of every individual residing on the property currently as well as the time of the

 flood event described in the Complaint as well as their age and relationship to you; whether the

 property is currently vacant; and, if so, how long the property has been vacant and the reason for

 the vacancy.

        ANSWER:



        INTERROGATORY 8.                For each property identified in response to Interrogatory No.

 3, state whether any such property or structure/improvement on the property was utilized as a rental

 property and, if so, identify the type of structure utilized for rental property and the purpose of the

 rental, whether for residential, business, or other use; each and every tenant of the property for the

 ten (10) years preceding the flood event described in the Complaint; the dates of occupancy for

 each tenant; and the amount of rent paid by each tenant.

        ANSWER:




                                                   7
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 27 of 35 - Page ID#:
                                     1630



        INTERROGATORY 9.               State whether any property identified in response to

 Interrogatory No. 3 has ever been appraised and, if so, provide the date of the appraisal, the name

 of the person or entity performing the appraisal, the reason for the appraisal, and the amount of the

 appraisal.

        ANSWER:



        INTERROGATORY 10.              Identify with specificity all items of personal property that

 you contend were lost or damaged as a result of any action or omission of the Defendants, stating

 the date on which the item was purchased, the claimed value of the item, and whether any repairs

 were performed on the item or whether you contend that the item was damaged beyond repair.

        ANSWER:



        INTERROGATORY 11.              For each property identified in response to Interrogatory No.

 3, state whether the source of water for any such property was well water and, if so, identify:

                1) Whether you are claiming destruction, interruption, or pollution of any such well
                   as part of this lawsuit;

                2) When each well at issue was put in and the name of the individual and/or entity
                   involved in putting in the well as well as the cost for putting in the well;

                3) The type of filtering system utilized with each well;

                4) Whether the well is still being utilized and, if not, when use of the well ceased
                   and the reason that you ceased use of the well;

                5) Whether any attempts were made to make the well usable again, describing the
                   specific efforts made and if no efforts were made, describing why no such efforts
                   were made;

                6) What your current water source is and the number of days you contend that you
                   were without usable water for the property;




                                                  8
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 28 of 35 - Page ID#:
                                     1631



                7) The way in which you contend the well was destroyed, interrupted and/or
                   polluted, the specific pollutant you contend infiltrated the well, and how you
                   determined the nature of the pollutant and how it infiltrated the well; and
                8) Whether any testing was done of the well prior to the flood event described in
                   the Complaint to determine whether pollutants were present and, if so, the date
                   on which the testing was performed, the identity of the individual/entity
                   performing the testing, and the results of the testing.

        ANSWER:


        INTERROGATORY 12.              To the extent you seek damages for emotional distress,

 humiliation, and/or pain and suffering, describe with specificity all facts which you contend

 support such a claim for damages; any treatment or counseling you have received following the

 flooding event, identifying specifically the service providers involved in any such

 treatment/counseling and the dates on which treatment/counseling was provided; and any

 treatment/counseling you were receiving prior to the flood event at issue for any mental and/or

 emotional disorders and/or conditions, identifying specifically the service providers involved in

 any such treatment/counseling and the dates of any such treatment/counseling.

        ANSWER:



        INTERROGATORY 13.              To the extent you seek damages in connection with

 relocation following the flood event at issue in the Complaint, identify specifically the address of

 the property to which you have relocated; the date on which you relocated; the cost you contend

 you’ve incurred as a result of that relocation; and the owner of the property to which you’ve

 relocated along with their contact information.

        ANSWER:




                                                   9
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 29 of 35 - Page ID#:
                                     1632



        INTERROGATORY 14.               To the extent you are seeking any type of business loss

 damages, lost income, or lost profits as a result of any action and/or omission of the Defendants,

 state specifically the nature of any business you contend suffered a loss; the nature of the loss you

 contend has been suffered; the amount of loss you are alleging; and provide the specific

 calculations utilized to determine the claimed loss.

        ANSWER:



        INTERROGATORY 15.               To the extent you are seeking any other type of damage as a

 result of the events alleged in the Complaint, state the precise basis for any such claim; identify all

 facts and circumstances underlying your claim; and provide the specific calculation utilized to

 determine the claimed loss.

        ANSWER:



                          REQUESTS FOR PRODUCTION OF DOCUMENTS

        REQUEST FOR PRODUCTION NO. 1.                   Produce all documents identified, relied upon,

 referenced, or otherwise used in answering these Discovery Requests.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 2.                   Produce all documents or communications

 concerning in any way the damages you claim as part of this lawsuit.

        RESPONSE:




                                                   10
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 30 of 35 - Page ID#:
                                     1633



        REQUEST FOR PRODUCTION NO. 3.                   Produce all documents evidencing ownership

 of the properties identified in response to Interrogatory No. 3 including, but not limited to, the deed

 to any subject property.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 4.                   Produce all documents evidencing any other

 interest held in the properties identified in response to Interrogatory No. 3 including, but not limited

 to, any lease agreement you may have held on the property at the time of the events alleged in the

 Complaint.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 5.                   Produce all documents and communications

 concerning the purchase of any property identified in response to Interrogatory No. 3.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 6.                   Produce all documents and communications

 concerning the construction of any structure and/or improvement on any piece of property identified

 in response to Interrogatory No. 3.

        RESPONSE:



        REQUEST FOR PRODUCTION NO. 7.                   Produce all appraisal reports for any properties

 identified in response to Interrogatory No. 3 whether issued prior to or following the flood event

 alleged in the Complaint.




                                                   11
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 31 of 35 - Page ID#:
                                     1634



         RESPONSE:



         REQUEST FOR PRODUCTION NO. 8.                    Produce all documents and communications

 concerning the value of any real or personal property at issue in this lawsuit both prior to and following

 the flood event alleged in the Complaint.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 9.                    Produce all documents and communications

 concerning any diminution in the value of any real or personal property claimed as part of this lawsuit.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 10. Produce all receipts demonstrating any repairs

 to any real or personal property at issue in this lawsuit.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 11. Produce all receipts demonstrating the cost of

 replacement of any property at issue in this lawsuit.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 12. Produce all documents and communications

 evidencing the residency of any individual you claim was residing on any property identified in

 response to Interrogatory No. 3 at the time of the flood event alleged in the Complaint.

         RESPONSE:




                                                     12
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 32 of 35 - Page ID#:
                                     1635




         REQUEST FOR PRODUCTION NO. 13. To the extent any property identified in

 response to Interrogatory No. 3 was being utilized as rental property at the time of the flood event

 alleged in the Complaint, provide all leases issued on the property for the previous ten (10) years as

 well as all documents evidencing the rental income received on such property during that time period.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 14. To the extent you are claiming destruction,

 interruption, or pollution of well water as part of this lawsuit, produce all documents and

 communications related to the damages you claim have been incurred as a result of the destruction,

 interruption, or pollution of the well.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 15. To the extent you are seeking damages for

 emotional distress, humiliation, and/or pain and suffering, produce all documents and

 communications concerning your claim for such damages.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 16. To the extent you are seeking damages for

 emotional distress, humiliation, and/or pain and suffering, produce all documents and

 communications concerning any treatment or counseling you have received following the flood event

 alleged in your Complaint.

         RESPONSE:




                                                  13
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 33 of 35 - Page ID#:
                                     1636




         REQUEST FOR PRODUCTION NO. 17. To the extent you are seeking damages for

 emotional distress, humiliation, and/or pain and suffering, produce all documents and

 communications concerning any treatment or counseling received in connection with any mental or

 emotional condition or disorder prior to the flood event alleged in the Complaint.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 18. To the extent you are claiming business loss,

 lost income, or lost profits as part of this lawsuit, provide a copy of your personal and business State

 and Federal tax returns for the year 2015 through the date of any trial of this matter.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 19. To the extent you are claiming business loss,

 lost income, or lost profits as part of this lawsuit, provide a copy of all financial statements, whether

 audited or unaudited, compiled in connection with any business to which your claim relates, from

 2015 through the day of any trial of this matter.

         RESPONSE:



         REQUEST FOR PRODUCTION NO. 20. To the extent you are claiming business loss,

 lost income, or lost profits as part of this lawsuit, provide all communications and documents related

 to any such claimed losses.

         RESPONSE:




                                                     14
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 34 of 35 - Page ID#:
                                     1637



         REQUEST FOR PRODUCTION NO. 21. To the extent you are claiming damages in

 connection with relocation following the flood event at issue in the Complaint, produce all documents

 and communications related to any expense you claim to have incurred as a result of relocation.

         RESPONSE:



                                    REQUESTS FOR ADMISSION

         REQUEST FOR ADMISSION NO. 1.                  Admit that you are not seeking any damages

 for physical bodily injuries in this lawsuit.

         RESPONSE:



                                                       Respectfully submitted,

                                                       /s/ Grahmn N. Morgan
                                                       Grahmn N. Morgan (KBA #89219)
                                                       Kristeena L. Johnson (KBA #94994)
                                                       DINSMORE & SHOHL LLP
                                                       100 W. Main St., Suite 900
                                                       Lexington, KY 40507
                                                       T: (859) 425-1000
                                                       F: (859) 425-1099
                                                       grahmn.morgan@dinsmore.com
                                                       kristeena.johnson@dinsmore.com

                                                       and

                                                       R. Clay Larkin
                                                       Dentons Bingham Greenebaum LLP
                                                       300 West Vine Street, Suite 1200
                                                       Lexington, KY 40507
                                                       T: (859) 231-8500
                                                       clay.larkin@dentons.com
                                                       Counsel for Defendants




                                                  15
Case: 5:22-cv-00231-DCR-MAS Doc #: 144-1 Filed: 03/12/24 Page: 35 of 35 - Page ID#:
                                     1638



                                CERTIFICATE OF SERVICE
        I certify that the foregoing was served by electronic mail and U.S. mail on December 22,
 2022 to the following:

 Ned Pillersdorf
 PILLERSDORF LAW OFFICES
 124 W. Court St.
 Prestonsburg, KY 41653
 T: (606) 886-6090
 pillersn@gmail.com
 Counsel for Plaintiffs

                                                    /s/ Grahmn N. Morgan
                                                    Counsel for Defendants




 27501179.1




                                               16
